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ORLANoo DivisloN

LlsA sHAY,

Plaintiff,
v. Case No: 6:18-cv-1693-Or|-2800|
SMARTPAY LEASlNG, LLc,

Defendant.

 

 

l oRDER oF DlslvllssAL
The Court has been advised by Plaintiff that the above-styled action has been
l completely settled (Doc. 14).

According|y, pursuant to Local Rule 3.08(b) of the lVliddle District of F|orida, it is
ORDERED and ADJUDGED that this case is hereby DlSMlSSED subject to the right of
any party, within sixty days from the date of this Order, to move the Court for entry of a
stipulated form of final order orjudgment, or, on good cause shown, to reopen the case for
further proceedings A|l pending motions are DEN|ED as moot. The Clerk is directed to
lift the stay and administrative closure of this file and to then close this case.

DONE and ORDERED in Orlandol Florida, on December 22 2018

E C. CONWAY
Anited States District Judge
(Signed in the absence of and at the
Direction of Judge John Antoon |l)

" Copies furnished to:
Counse| of Record
Unrepresented Parties

 

 

